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                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JUST FUNKY, LLC,                                    )      Case No. 5:21-cv-1127
                                                    )
                Plaintiff,                          )
                                                    )
v.                                                  )      Judge:
                                                    )
BOOM TRENDZ, LLC, MELISSA                           )      MEMORANDUM IN SUPPORT OF
CARPENTER, and DEEPAK TYAGI,                        )      MOTION FOR ORDER FOR
                                                    )      EXPEDITED DISCOVERY
                Defendants.                         )
                                                    )

         Plaintiff Just Funky, LLC (“Just Funky”), initiated this action by the filing of a Verified

Complaint, asserting claims for, among other things, breach of contract, misappropriation of

trade secrets, tortious interference with business relations, violations of the Computer Fraud and

Abuse Act, and unfair competition against Defendants Deepak Tyagi (“Tyagi”), Melissa

Carpenter (“Carpenter”), and Boom Trendz, LLC (“Boom Trendz”) (collectively “Defendants”).

         Tyagi was employed as a Divisional Merchandise Manager, overseeing production of

licensed products, including working with customers to discuss specifications, pricing, and other

matters. In connection with his employment with Just Funky, Tyagi executed an agreement,

which contained confidentiality, non-competition, and non-solicitation provisions. Among other

things, those confidentiality, non-competition, and non-solicitation provisions prohibit Tyagi for

a period of twelve months from accepting employment with any competitor of Just Funky

following the termination of his employment with Just Funky. Furthermore, they prohibit Tyagi

for a period of twelve months from soliciting the business of any customer of Just Funky’s or

soliciting any manufacturer and supplier of Just Funky, and indefinitely prohibit him from

disclosing any of Just Funky’s confidential information, including trade secrets to any third

party.
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        Tyagi has breached and continues to breach the Agreement, with Boom Trendz

knowledge and support.1 As detailed in the Verified Complaint, Tyagi has contacted customers,

manufacturers, and suppliers of Plaintiff on behalf of Boom Trendz, in an effort to solicit their

business away from Just Funky and disrupt Just Funky’s relationships with such clients,

manufacturers, suppliers, and other vendors. After his separation, Tyagi explicitly identified

himself to Just Funky’s customers as a former employee of Just Funky, now working for a

competitor providing similar products in an effort to compete directly with Just Funky despite

being bound by the restrictions in the Agreement. Additionally, the content of those emails

demonstrated that Tyagi was in possession of Just Funky’s confidential information and trade

secrets. Boom Trendz’s website also reflects illegal possession of Just Funky’s proprietary

information.

        Carpenter similarly was bound by confidentiality, non-competition, and non-solicitation

provisions contained in two employment agreements she executed in 2013 and 2014. Those

agreements prevented Carpenter for a period of twenty-four months from competing with Just

Funky, soliciting any employee of Just Funky to leave employment with Just Funky, soliciting

the business of any customer of Just Funky’s, or soliciting any manufacturer and supplier of Just

Funky for a period of twenty-four months, and, indefinitely prohibit her from disclosing any of

Just Funky’s confidential information, including trade secrets to any third party.

        Carpenter has breached and continues to breach her agreements. Upon information and

belief, Carpenter breached her agreement by competing with Just Funky prior to the expiration of

her restrictive covenants in April 2021. Furthermore, upon information and belief, Carpenter


1
 In addition to Boom Trendz knowledge of the restrictions contained in Tyagi’s Agreement, Boom Trendz part-
owner, Melissa Carpenter, is also a former employee of Just Funky and was subject to the her own restrictive
covenant agreement as a condition of her employment with Plaintiff. Carpenter also knew that all employees of Just
Funky were required to sign such agreements, further demonstrating Boom Trendz knowledge of the restrictions in
place on Tyagi when Boom Trendz hired him.

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breached the nondisclosure of confidential information and trade secrets by accepting and/or

utilizing Just Funky’s confidential information and trade secrets to unfairly compete with Just

Funky.

         Boom Trendz and Carpenter have condoned Tyagi’s wrongful conduct and supported his

active solicitation of Just Funky’s business, including Tyagi’s email communications, text

messages, and/or phone calls with customers and vendors of Just Funky. To Just Funky’s

knowledge, Tyagi, Carpenter, and Boom Trendz continue to unlawfully compete with Just Funky

through Tyagi’s wrongful solicitation of Just Funky’s clients, manufacturers, suppliers, and other

vendors, in addition to continuing to possess and utilize Just Funky’s proprietary information to

unfairly compete with Just Funky.

         The Federal Rules of Civil Procedure afford courts broad discretion in authorizing

expedited discovery. Specifically, Rule 26(d) authorizes the Court, in its sound discretion, to

order expedited discovery for good cause. See 8 Charles Allen Wright, Arthur R. Miller &

Richard L. Marcus, Federal Practice & Procedure, Section 2046.1. Where, as here, the potential

for irreparable harm is imminent, as is fully detailed in Plaintiff’s Motion for Temporary

Restraining Order and/or Preliminary Injunction, courts have generally directed the parties to

conduct discovery within an extremely short period of time, so the parties and counsel can

prepare for injunctive relief hearings that typically are scheduled within weeks or even days of

the commencement of litigation. See e.g. Neighbors Organized to Insure Sound Environment,

Inc. v. McArtor, 878 F. 2d 174 (6th Cir. 1981) (expedited discovery ordered prior to preliminary

injunction hearing); In re: Election of June 2, 1992, for the Office of Representative to the United

States House of Representatives from the Sixth District of Ohio, 64 Ohio St. 3d 1215, 1216

(1992) (Ohio Supreme Court grants expedited discovery in original action filed before it); Rite

Aid of Ohio, Inc. v. Marc’s Variety Store, Inc., 93 Ohio App. 3d 407, 411, 638 N.E. 2d 1056,


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1059 (1994) (expedited discovery allowed during 15 day period between filing of complaint and

consolidated hearing on preliminary injunction and merits).

       Here, Just Funky has moved this Court for temporary and/or preliminary injunctive relief

to prevent Defendants’ use and further disclosure of Just Funky’s confidential, proprietary, and

trade secret information, to prevent Tyagi from further violating the Agreement, to prevent

Carpenter from further violating the Agreement, and to halt Defendants’ tortious interference

with Just Funky’s business and contractual relations. Expedited discovery is necessary to allow

Just Funky to develop the evidence required to support the granting of injunctive relief. It is not

unreasonable, in light of the facts of this case, for Defendants to be required to expend the effort

to respond to discovery on an expedited basis. The hardship placed on Defendants by the

shortened response time should be minimal. It is critical that Just Funky be permitted to conduct

discovery prior to an evidentiary hearing to develop the nature and full extent of Defendants’

knowledge of and misuse of Just Funky’s trade secrets and confidential and proprietary

information. Thus, Just Funky requests that this Court grant its Motion for Expedited Discovery.

                                              Respectfully submitted,


                                              /s/ Adam E. Primm
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